                                                Case 2:23-cv-01373-APG Document 4 Filed 09/08/23 Page 1 of 3



                                       1       CARLYON CICA CHTD.
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                                       7
                                                                        UNITED STATES DISTRICT COURT
                                       8                                     DISTRICT OF NEVADA

                                       9       CITY OF HENDERSON                               Case No.: 2:23-cv-01373-APG
                                                                                               Appeal Reference No.: 23−17
                                      10
                                                                         Appellant(s)
265 E. Warm Springs Road, Suite 107




                                      11                                                       BK Case No.: 22−13252−mkn
                                               vs.                                             Chapter: 11
                                      12
       Las Vegas, NV 89119
      CARLYON CICA CHTD.




                                               BASIC WATER COMPANY; BASIC WATER STIPULATION AND ORDER TO STAY
                                      13       COMPANY SPE 1 LLC; BANK OF NEVADA APPEAL PENDING CONFIRMATION
                                                                                 OF PROPOSED PLAN
                                      14
                                                                   Appellee(s)
                                      15                                         Jointly administered with:
                                                                                 Basic Water Company SPE 1, LLC,
                                      16                                         Case No. 22-13253-MKN
                                      17

                                      18             City of Henderson (“COH” or “Appellant”), by and through its undersigned counsel, the
                                      19   law firm of Carlyon Cica Chtd., and Appellees Basic Water Company (“BWC”), Basic Water
                                      20   Company SPE 1, LLC (“SPE”) and Bank of Nevada (“BOA”) by and through its undersigned
                                      21   counsel of record hereby stipulate and agree as follows:
                                      22             WHEREAS, on August 15, 2023 the Bankruptcy Court entered its Order on Motion for
                                      23   Allowance and Payment of Administrative Claim1 [ECF No. 465]; and
                                      24             WHEREAS, on August 28, 2023, COH filed its Notice of Appeal and Statement of Election
                                      25   [ECF No. 482]; and
                                      26

                                      27   1
                                             All references to “ECF No.” are to the numbers assigned to the documents filed in the bankruptcy
                                      28   case as they appear on the docket maintained by the clerk of the court.
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 1          WHEREAS on September 5, 2023 the Notice of appeal was docketed with to United States

 2   District Court

 3          WHEREAS, Debtors, Basic Water Company and Basic Water Company SPE 1, LLC, have

 4   reached an agreement with respect to the subject matter of this appeal, which is subject to approval

 5   through the Debtors’ pending First Amended Joint Plan of Reorganization for Basic Water

 6   Company and Basic Water Company SPE 1, LLC under Chapter 11 of the Bankruptcy Code dated

 7   August 25, 2023 [ECF No. 473] (the “Plan”), which is currently set for hearing on October 10, 2023

 8   at 9:30 a.m.; and

 9          WHEREAS, the Parties anticipate that this appeal will be resolved via confirmation of the

10   Plan; and

11          WHEREAS, the Parties anticipate that the Effective Date of the Plan will occur prior to

12   December 31, 2023:

13          IT IS HEREBY STIPULATED that the Appeal is hereby stayed through and including

14   December 31, 2023.

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 1           IT IS FURTHER HEREBY STIPULATED that, if the Appeal is not dismissed prior to

 2   December 1, 2023, Appellant shall file a status report with the Court on or before December 15,

 3   2023.

 4           IT IS SO STIPULATED
 5
      CARLYON CICA CHTD.                             SCHWARTZ LAW, PLLC
 6
      By: /s/ _Candace Carlyon__________             By: /s/_Samuel Schwartz__________
 7    CANDACE C. CARLYON, ESQ.                       SAMUEL A. SCHWARTZ, ESQ.
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 8
      265 E. Warm Springs Road, Suite 107            Las Vegas, NV 89101
 9    Las Vegas, NV 89119                            Attorneys for the Appellees Basic Water
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10    Counsel for City of Henderson                  LLC

11                                                   SQUIRE PATTON BOGGS (US) LLP
12
                                                     By: /s/______Maura McIntyre____________
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19                                                   Cleveland, OH 44114
20                                                   Counsel for Bank of Nevada

21                                             ORDER

22                                                IT IS SO ORDERED:
23                                                ______________________________________
24                                                UNITED STATES DISTRICT COURT JUDGE

25                                                DATED: __________________

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